Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 1 of 50




   EXHIBIT 1
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 2 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 3 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 4 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 5 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 6 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 7 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 8 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 9 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 10 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 11 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 12 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 13 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 14 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 15 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 16 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 17 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 18 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 19 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 20 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 21 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 22 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 23 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 24 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 25 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 26 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 27 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 28 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 29 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 30 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 31 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 32 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 33 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 34 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 35 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 36 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 37 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 38 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 39 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 40 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 41 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 42 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 43 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 44 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 45 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 46 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 47 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 48 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 49 of 50
Case 2:21-cv-04212-WB Document 1-1 Filed 09/23/21 Page 50 of 50
